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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


Darlene Carlson,                                        Civil No.: _______________

            Plaintiff,
v.
                                                         COMPLAINT
GC Services, LP and WD Sparks,

             Defendants.
                                                  JURY TRIAL DEMANDED

                                 JURISDICTION

1.    Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15

      U.S.C. § 1692k(d).

2.    This action arises out of Defendants’ repeated violations of the Fair Debt

      Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) by these

      Defendants and their agents in their illegal efforts to collect a consumer debt

      from Plaintiff.

3.    Venue is proper in this District because the acts and transactions occurred

      here, Plaintiff resides here, and Defendants transact business here.

                                     PARTIES

4.    Plaintiff Darlene Carlson is a natural person who resides in the City of

      Brainerd, County of Crow Wing, State of Minnesota, and is a “consumer” as

      that term is defined by 15 U.S.C. § 1692a(3), and/or a person affected by a



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     violation of the FDCPA with standing to bring this claim under 15 U.S.C. §§

     1692k(a).

5.   Defendant GC Services, LP (hereinafter “Defendant GCS”) is a collection

     agency operating from an address of 6330 Gulfton, Houston, Texas 77081,

     with a Minnesota registered agent of process of CT Corporation System, Inc.,

     100 S 5th Street #1075, Minneapolis, MN, 55402, and is a “debt collector” as

     that term is defined by 15 U.S.C. § 1692a(6).

6.   Defendant WD Sparks (hereinafter “Defendant Sparks”) is a natural person

     who was employed at all times relevant herein by Defendant GCS as a

     collection agent and is a “debt collector” as that term is defined by 15 U.S.C. §

     1692a(6).

                         FACTUAL ALLEGATIONS

7.   Plaintiff allegedly incurred a financial obligation that was primarily for

     personal, family or household purposes and is therefore a “debt” as that term

     is defined by 15 U.S.C. § 1692a(5), namely, a student loan debt with

     SallieMae, in the approximate alleged amount of $15,446.85, which was

     allegedly used by Plaintiff for personal, family and household purposes.

8.   Plaintiff is informed and believes that she has never had a loan with SallieMae,

     nor is she an obligor on a loan through SallieMae or any loan that SallieMae is

     or was servicing.



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9.    Plaintiff is a 71-year-old working grandmother who has never enrolled in any

      higher education programs beyond public high school, from which she

      graduated in 1957.

10.   Sometime thereafter, the alleged debt was consigned, placed or otherwise

      transferred to Defendants for collection from Plaintiff.

                    December 6, 2011 Initial Collection Letter

11.   On or about December 6, 2011, Defendant GCS contacted Plaintiff by

      dunning letter in an effort to collect this debt.

12.   Defendant GCS’s dunning letter attempted to collect the alleged debt as

      outlined above.

13.   Defendant GCS’s collection letter stated the account number as 83571.

14.   Included on the back of Defendant GCS’s letter, in pertinent part, was the

      following notice:

            CONSUMER INFORMATION:
            UNLESS YOU, WITHIN THIRTY (30) DAYS AFTER YOUR
            RECEIPT OF GC SERVICES' INITIAL WRITTEN NOTICE
            TO YOU CONCERNING THIS DEBT, DISPUTE THE
            VALIDITY OF THE DEBT OR ANY PORTION THEROF
            THE DEBT WILL BE ASSUMED TO BE VALID BY GC
            SERVICES. IF YOU NOTIFY GC SERVICES IN WRITING
            WITHIN THE ABOVE DESCRIBED THIRTY (30) DAY
            PERIOD THAT THE DEBT, OR ANY PORTION THEREOF,
            IS  DISPUTED,    GC   SERVICES    WILL  OBTAIN
            VERIFICATION OF THE DEBT OR A COPY OF THE
            JUDGMENT AGAINST YOU AND A COPY OF SUCH
            VERIFICATION OR JUDGMENT WILL BE MAILED TO
            YOU BY GC SERVICES.



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                Plaintiff’s December 31st, 2011 Disputation Letter

15.   On or about December 31, 2011, Plaintiff’s daughter, acting on Plaintiff’s

      behalf, faxed and mailed a letter requesting validation of the debt to

      Defendants.

16.   Plaintiff also disputed that she owed the alleged debt in her validation letter.

17.   In addition to the request for validation and disputation, Plaintiff provided

      the contact information of her attorney.

18.   Since January 2012, Defendants were on notice the Plaintiff was represented

      by an attorney.

19.   Thereafter, Plaintiff never received verification of the debt or a copy of any

      judgment from Defendants.

                     January 8, 2013 Illegal Collection Letter

20.   On or about January 8, 2012, Defendant GCS’s collector, Defendant Sparks,

      contacted Plaintiff by dunning letter in an effort to collect this debt, which

      was a “communication” in an attempt to collect a debt as that term is defined

      by 15 U.S.C. § 1692a(2).

21.   Defendant Sparks’ letter stated that Defendants GCS notified Plaintiff of an

      opportunity to resolve her alleged defaulted student loan debt though

      Defendants’ Reduced Interest Repayment Program.

22.   Defendant Sparks’ collection letter again stated the account number as 83571.


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23.   Included in the letter was a statement that this was an attempt to collect a debt

      and that any information obtained would be used for that purpose.

24.   This letter was received by Plaintiff despite the fact that Defendants were

      previously given notice that Plaintiff was represented by an attorney.

25.   On or about January 17, 2013 again disputed this debt with Defendants and

      requested validation.

26.   The above-described collection communication made to Plaintiff by Defendant

      Sparks while employed by Defendant GCS, was made in violation of

      numerous and multiple provisions of the FDCPA, including but not limited to

      15 U.S.C. §§ 1692c(a)(2), 1692d, 1692e, 1692e(2), 1692f, and 1692g(b)

      amongst others.

                                     Summary

27.   The above-described collection communication made to Plaintiff by each

      individual Defendant employed by Defendant GCS, were made in violation of

      numerous and multiple provisions of the FDCPA, including but not limited to

      all of the provisions of the FDCPA cited herein.

28.   Defendants attempt to collect this debt from Plaintiff, a person whom did not

      owe this debt, was an invasion of Plaintiff’s privacy and her right to be left

      alone.




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                           Respondeat Superior Liability

29.   The acts and omissions of the Defendant Sparks, employed as an agent by

      Defendant GCS who communicated with Plaintiff as more further described

      herein, were committed within the time and space limits of Defendant Sparks’

      agency relationship with Defendant Sparks’ principal, Defendant GCS.

30.   The acts and omissions by Defendant Sparks was incidental to, or of the same

      general nature as, the responsibilities this agent was authorized to perform by

      Defendant GCS in collecting consumer debts.

31.   By committing these acts and omissions against Plaintiff, Defendant Sparks

      was motivated to benefit Defendant Sparks’ principal, Defendant GCS.

32.   Defendant GCS is therefore liable to Plaintiff through the Doctrine of

      Respondeat Superior for the intentional and negligent acts, errors, and

      omissions done in violation of state and federal law by its collection

      employees, including but not limited to violations of the FDCPA in their

      attempts to collect this debt from Plaintiff.

                                 TRIAL BY JURY

33.   Plaintiff is entitled to and hereby respectfully demands a trial by jury on all

      issues so triable. US Const. amend. 7. Fed.R.Civ.P. 38.

                              CAUSES OF ACTION

                                     COUNT I.



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  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                             15 U.S.C. § 1692 et seq.

34.   Plaintiff incorporates by reference all of the above paragraphs of this

      Complaint as though fully stated herein.

35.   The foregoing acts and omissions of each Defendant and their agents

      constitute numerous and multiple violations of the FDCPA including, but

      not limited to, each and every one of the above-cited provisions of the

      FDCPA, 15 U.S.C. § 1692 et seq., with respect to Plaintiff.

36.   As a result of each Defendant’s violations of the FDCPA, Plaintiff is entitled

      to actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in

      an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,

      reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3),

      from each Defendant herein.

                            PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against each Defendant:

                                    COUNT I.

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                             15 U.S.C. § 1692 et seq.

      • for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1)

         against each Defendant and for Plaintiff;



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      • for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.

         §1692k(a)(2)(A) against each Defendant and for Plaintiff;

      • for an award of costs of litigation and reasonable attorney’s fees pursuant

         to 15 U.S.C. § 1692k(a)(3) against each Defendant and for Plaintiff; and

      • for such other and further relief as may be just and proper.



Dated: March 5, 2013                       Respectfully submitted
                                           BARRY, SLADE, WHEATON
                                           & HELWIG, LLC

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